Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 1 of 24

Mississippi Electronic Courts
Nineteenth Circuit Court District (George Circuit Court)
CIVIL DOCKET FOR CASE #: 20CI1:24-cv-00090-KJ

Aaron Vaughn Baker v. George County, Mississippi, George Date Filed: 04/05/2024

County Sheriff Keith Havard in his Official Capacity and Current Days Pending: 46
Individual Capacity, Terry Rogers, Warden of George-Greene Total Case Age: 46

County Correctional Facility, in his Official Capacity and Jury Demand: None

Individual Capacity and John Does 1-10 Nature of Suit: Other Torts (175)

Assigned to: Kathy King Jackson
Upcoming Settings:

None Found

Plaintiff

Aaron Vaughn Baker represented by Michael W Crosby
Michael W. Crosby, Attorney
2111 25TH AVENUE
GULFPORT, MS 39501
228-865-0313
Fax: 228-865-0337
Email: michaelwcrosby@bellsouth.net
ATTORNEY TO BE NOTICED

V.

Defendant

George County, Mississippi

Defendant

George County Sheriff Keith Havard in
his official Capacity and Individual
Capacity

Defendant

Terry Rogers, Warden of George-Greene
County Correctional Facility, in his
Official Capacity and Individual Capacity
Defendant

John and Jane Does 1-10

Date Filed # | Docket Text

04/05/2024 Receipt and Civil Cover Sheet (Davis, Kim) (Entered: 04/05/2024)

l—

04/05/2024 2 |COMPLAINT against George County Sheriff Keith Havard in his official Capacity and
Individual Capacity, George County, Mississippi, John and Jane Does 1-10, Terry Rogers,

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 2 of 24

Warden of George-Greene County Correctional Facility, in his Official Capacity and
Individual Capacity, filed by Aaron Vaughn Baker. (Davis, Kim) (Entered: 04/05/2024)

04/05/2024

[uo

SUMMONS Issued to George County, Mississippi by service upon Cammie Byrd, Warden
Terry Rogers, Sheriff Keith Havard. (Davis, Kim) (Entered: 04/05/2024)

04/26/2024

SUMMONS Returned Executed by Aaron Vaughn Baker. Re: ** 3 SUMMONS Issued to
George County, Mississippi by service upon Cammie Byrd, Warden Terry Rogers, Sheriff
Keith Havard. (Davis, Kim)** Terry Rogers, Warden of George-Greene
CountyCorrectional Facility, in his Official Capacity and Individual Capacity served on
4/12/2024, answer due 5/12/2024. Service type: Personal (Crosby, Michael) (Entered:
04/26/2024)

04/26/2024

kn

SUMMONS Returned Executed by Aaron Vaughn Baker. Re: ** 3 SUMMONS Issued to
George County, Mississippi by service upon Cammie Byrd, Warden Terry Rogers, Sheriff
Keith Havard. (Davis, Kim)** George County, Mississippi served on 4/12/2024, answer
due 5/12/2024. Service type: Personal (Crosby, Michael) (Entered: 04/26/2024)

05/01/2024

In

SUMMONS Returned Executed by Aaron Vaughn Baker. Re: ** 3 SUMMONS Issued to
George County, Mississippi by service upon Cammie Byrd, Warden Terry Rogers, Sheriff
Keith Havard. (Davis, Kim)** George County Sheriff Keith Havard in his official Capacity
and Individual Capacity served on 4/12/2024, answer due 5/12/2024. Service type:
Personal (Crosby, Michael) (Entered: 05/01/2024)

MEC Service Center

| Transaction Receipt |

| 05/21/2024 09:27:39 |
You will be charged $0.20 per page to view or print
documents.
IMEC Login: ||s10205 ||Client Code: | |
Docket 20CI1:24-cv-00090-
Description: one Search Criteria: “v
Report KJ

[Billable Pages: 1 ||Cost: |]0.20 |

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 3 of 24

Case: 20CI1:24-cv-00090-KJ Document#:1 Filed: 04/05/2024 Pagei1of7
FEE BILL, CIVIL CASES, CIRCUIT COURT

State of Mississippi
George County

BAKER VS GEORGE COUNTY

Case # Acct # Paid By CHECK 3741 Rec#k# 27131
CV-CLERK FEE 85.00
CV-JURY TAX 3.00
CV-SUMMONS ISSUED FEE 2.00
CV-COURT REPORTER 10.00
CV-LAW LIB 2750
CV-SCEF 2). 00
CV-COURT CONSTITUENTS 50
CV-LEGAL ASSISTANCE 5.00
CV-ELECTRONIC FILING 10.00
CV-JUDICIAL SYS OPERATION FUND 40.00

Total $ 160.00

Payment received from MICHAEL W CROSBY

Transaction 32664 Received 4/ 5/2024 at 14:34 Drawer 1 I.D. KDD

Current Balance Due $0.00 Receipt Amount $ 160.00

By A) D.C. Chad Welford, Circuit Clerk

Case # Acct # Paid By CHECK 3741 Ret#.- 27137
Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 4 of 24

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Civil Case Filing Form | / | ie) Lc{ ZI

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(To be completed by Attorney/Party County # Judicial | CourtID
Prior to Filing of Pleading) District (CH, Cl, CO)
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Mississippi Supreme Court Form AOC/01 Month Date Year

[sr] aT a}

Local Docket ID

Administrative Office of Courts

(Rev 2020) This area to be completed by clerk

Case Number if filed prior to 1/1/94

Inthe CIRCUIT Courtof GEORGE County

Judicial District

Origin of Suit (Place an ™X" in one box only)

Initial Filing oO Reinstated [-] Foreign Judgment Enrolled CI Transfer from Other court CI Other
CI Remanded OO Reopened [-] Joining Suit/Action CI Appeal
Plaintiff - Party(ies) Initially Bringing Suit Should Be Entered First - Enter Additional Plaintiffs on Separate Form
Individual Baker Aaron Vaughn
Last Name First Name Maiden Name, if applicable M.I. Jr/Sr/IM/IV
Check ( x ) if Individual Plainitiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:
Estate of
Check ( x ) if Individual Planitiff is acting in capacity as Business Owner/Operator (d/b/a) or State Agency, and enter entity
D/B/A or Agency

Business

Check ( x ) if Business Planitiff is filing suit in the name of an entity other than the above, and enter below:
D/B/A

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate the state where incorporated

Address of Plaintiff

Attorney (Name & Address) Michael W. Crosby, 2111 25th Avenue, Gulfport, MS 39501

Check ( x ) if Individual Filing iy NOT an attorney
Signature of Individual Filing:
7

MS Bar No. 07888

Defendant - Name of Defendant - Enter Aaiyéonal Defendants on Separate Form
|!ndividual

Last Name First Name Maiden Name, if applicable
Check ( x) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:
Estate of

M1. Jr/Sr /MI/IV

Check ( x ) if Individual Defendant is acting in capacity as Business Owner/Operator (d/b/a) or State Agency, and enter entity:
D/B/A or Agency

|Business George County, MS

Check ( x ) if Business Defendant is acting in the name of an entity other than the above, and enter below:
D/B/A

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate the state where incorporated

Attorney (Name & Address) - If Known

MS Bar No.

Alcohol/Drug Commitment (voluntary)

___ Check ( x) if child support is contemplated as an issue in this suit.*

Real Property

OO

Adverse Possession
Ejectment

Eminent Domain

Eviction

Judicial Foreclosure

Lien Assertion

Partition

Tax Sale: Confirm/Cancel
Title Boundary or Easement
Other

Torts

*If checked, please submit completed Child Support Information Sheet with this Cover Sheet Other CI
Nature of Suit (Place an "X" in one box only) [ Children/Minors- Non-Domestic | CJ
Domestic Relations | | Business/Commercial | [_] Adoption - Contested oO
CI Child Custody/Visitation C] Accounting (Business) [= Adoption - Uncontested CI
CI Child Support CI Business Dissolution C] Consent to Abortion CI
[-] Contempt ([] Debt Collection [_] Minor Removal of Minority CI
[_] Divorce:Fault [-] Employment [_] Other CI
[_] Divorce: Irreconcilable Diff. [L] Foreign Judgment | Civil Rights | CI
LC] Domestic Abuse CI Garnishment LJ Elections C]
[-] Emancipation CC) Replevin [CJ Expungement CI
[CL] Modification (-] Other [[] Habeas Corpus |
[_] Paternity | ie Probate | [[] Post Conviction Relief/Prisoner Cl
(-] Property Division [1 Accounting (Probate) (_] Other =
[[] Separate Maintenance [_] Birth Certificate Correction | Contract | oO
CI Term. of Parental Rights-Chancery Cl Mental Health Commitment CL] Breach of Contract oO
[_] UIFSA (eff 7/1/97; formerly URESA) (1 Conservatorship [[] Installment Contract Co
(_] Other [-] Guardianship (C] Insurance o
Appeals =| LJ Joint Conservatorship & Guardianship oO Specific Performance Cl
[_] Administrative Agency [J Heirship [_] Other Cl
[_] County Court C] intestate Estate [s Statutes/Rules ] ia
[-] Hardship Petition (Driver License) Z Minor : serene [-] Bond Validation CC]
CI Justice Court CI a ve LC Civil Forfeiture Cl
(CL) Ms Dept Employment Security J Testate netate C] Declaratory Judgment CO
CI Municipal Court C1 wit contest [-] !njunction or Restraining Order C]
Other . Other
CJ Cl] Alcohol/Drug Commitment (involuntary) C]

Bad Faith

Fraud

Intentional Tort

Loss of Consortium
Malpractice - Legal
Malpractice - Medical
Mass Tort

Negligence - General
Negligence - Motor Vehicle
Premises Liability
Product Liability
Subrogation
Wrongful Death
Other

joe corer Sot a
Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 5 of 24
Case: 20CI1:24-cv-00090-KJ Document#:1 Filed: 04/05/2024 Page 3of7
IN THE CIRCUIT CouRT OF _GEORGE COUNTY, MISSISSIPPI

JUDICIAL DISTRICT, CITY OF

Docket No. - Docket No. If Filed
File Yr Chronological No. Clerk's Local ID Prior to 1/1/94

PLAINTIFFS IN REFERENCED CAUSE - Page 1 of __ Plaintiffs Pages
IN ADDITION TO PLAINTIFF SHOWN ON CIVIL CASE FILING FORM COVER SHEET

Plaintiff #2:

Individual:

Last Name First Name ( Maiden Name, if Applicable ) “Middle tnit- TST
___ Check (/) if Individual Plaintiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (/) if Individual Plaintiff is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

__Check (/) if Business Plaintiff is filing suit in the name of an entity other than the name above, and enter below:

D/B/A
ATTORNEY FOR THIS PLAINTIFF: Bar # or Name: Pro Hac Vice (/)___ Not an Attorney(W)___
Plaintiff #3:
Individual: ( )
LastName First Name Warden Name, fApplicable = — Middle Init TST

___Check (/) if Individual Plaintiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (/) if Individual Plaintiff is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

__Check (/) if Business Plaintiff is filing suit in the name of an entity other than the name above, and enter below:
D/B/A

ATTORNEY FOR THIS PLAINTIFF: Bar # or Name: Pro Hac Vice (/)____ Not an Attorney(V)___

Plaintiff #4:

Individual:

Last Name First Name Maiden Name, if Applicable Middle Init. Jr/Sr //V
___ Check (V) if Individual Plaintiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___ Check (V) if Individual Plaintiff is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

__Check (/) if Business Plaintiff is filing suit in the name of an entity other than the name above, and enter below:
D/B/A
ATTORNEY FOR THIS PLAINTIFF: Bar # or Name: Pro Hac Vice (/)___ Not an Attorney(VW)___

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 6 of 24
Case: 20C11:24-cv-00090-KJ Document#:1 Filed: 04/05/2024 Page 4of7
IN THE CIRCUIT COURT OF GEORGE COUNTY, MISSISSIPPI

JUDICIAL DISTRICT, CITY OF

Docket No. - Docket No. If Filed
File Yr Chronological No. Clerk's Local ID Prior to 1/1/94

PLAINTIFFS IN REFERENCED CAUSE - Page__ of ___ Plaintiffs Pages
IN ADDITION TO PLAINTIFF SHOWN ON CIVIL CASE FILING FORM COVER SHEET

Plaintiff # —:

Individual:

Last Name First Name Maiden Name, if Applicable Middle Tit: TSrMV-
___Check (/) if Individual Plaintiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (V) if Individual Plaintiff is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

___Check (/) if Business Plaintiff is filing suit in the name of an entity other than the name above, and enter below:

D/B/A
ATTORNEY FOR THIS PLAINTIFF: Bar # or Name: Pro Hac Vice ()___ Not an Attorney(W)____
Plaintiff # ss:
Individual: ( )
Cast Name First Name “Waiden Name, i Applicable Widale Tit. ITSTMTV

___Check (V) if Individual Plaintiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (/) if Individual Plaintiff is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:
D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

__Check (/) if Business Plaintiff is filing suit in the name of an entity other than the name above, and enter below:

D/B/A
ATTORNEY FOR THIS PLAINTIFF: Bar # or Name: Pro Hac Vice (/) Not an Attorney(/)
Plaintiff # ___ :
Individual: (
Last Name First Name Maiden Name, if Applicable Middle Init. Jr/SrI/V

___ Check (V) if Individual Plaintiff is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (/) if Individual Plaintiff is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated
___Check (/) if Business Plaintiff is filing suit in the name of an entity other than the name above, and enter below:

D/B/A

ATTORNEY FOR THIS PLAINTIFF: ____Bar # or Name: Pro Hac Vice (/)___ Not an Attorney(W)____

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 7 of 24
Case: 20CI1:24-cv-00090-KJ Document#:1 Filed: 04/05/2024 Page5of7
IN THE CIRCUIT Court of GEORGE COUNTY, MISSISSIPPI

JUDICIAL DISTRICT, CITY OF

Docket No. - Docket No. If Filed
File Yr Chronological No. Clerk’s Local ID Prior to 1/1/94

DEFENDANTS IN REFERENCED CAUSE - Page 1 of —— Defendants Pages
IN ADDITION TO DEFENDANT SHOWN ON CIVIL CASE FILING FORM COVER SHEET

Defendant #2:

Individual: Havard Keith
Last Name First Name Maiden Name, if Applicable Middle Init. Jr/Sr

___Check (/) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___ Check (/) if Individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business - Sheriff Keith Havard, Individually and in their offical capacity
Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

___Check (/) if Business Defendant is being sued in the name of an entity other than the name above, and enter below:

D/B/A
ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hac Vice (/) Not an Attorney(/),
Defendant #3:
Individual: Rogers Terry (
Last Name First Name Maiden Name, if Applicable Middle Init. Jr/Sr/MMI/V

___Check (V) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (V) if Individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business George County Correctional Facility - Terry Rogers/Warden Individually and in their offical capacity
Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

___Check (/) if Business Defendant is being sued in the name of an entity other than the name above, and enter below:

D/B/A
ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hac Vice (“)___ Not an Attorney(W)____
Defendant #4:
Individual: Does 1-10 John and Jane

Last Name First Name Maiden Name, if Applicable Middle Init. Jr/Sr/I/IV
___ Check (V) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (/) if Individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

___Check (/) if Business Defendant is being sued in the name of an entity other than the above, and enter below:
D/B/A

ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hac Vice (/)___ Not an Attorney(VW)___

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 8 of 24
Case: 20C11:24-cv-00090-KJ Document#:1 Filed: 04/05/2024 Page 6of7
IN THE CIRCUIT Court OF GEORGE COUNTY, MississIPPI

JUDICIAL DISTRICT, CITY OF

Docket No. - Docket No. If Filed
File Yr Chronological No. Clerk's Local ID Prior to 1/1/94

DEFENDANTS IN REFERENCED CAUSE - Page __ of __ Defendants Pages
IN ADDITION TO DEFENDANT SHOWN ON CIVIL CASE FILING FORM COVER SHEET

Defendant#__:

Individual:

Last Name First Name Maiden Name, if Applicable Middle Init. Je/Sr/MAV
___ Check (V) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (V) if Individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

__Check (/) if Business Defendant is being sued in the name of an entity other than the name above, and enter below:

D/B/A
ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hac Vice (/) Not an Attorney(/)
Defendant # :
Individual: ___ )
Last Name First Name Maiden Name, if Applicable Middle Init. Je/Sr/W/V

___ Check (V) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (/) if Individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - If Corporation, indicate state where incorporated

___Check (/) if Business Defendant is being sued in the name of an entity other than the name above, and enter below:

D/B/A
ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hac Vice (/) Not an Attorney(/)
Defendant #___:
Individual:
Last Name First Name Maiden Name, if Applicable Middle Init. Je/Sc/M/V

___Check (V) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:

Estate of

___Check (V) if Individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

D/B/A

Business

Enter legal name of business, corporation, partnership, agency - It Corporation, indicate state where incorporated

___Check (/) if Business Defendant is being sued in the name of an entity other than the name above, and enter below:
D/B/A

ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hac Vice (/)___ Not an Attorney(VW)____

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 9 of 24
Case: 20C11:24-cv-00090-KJ Document#:1 Filed: 04/05/2024 Page 7 of 7

CHILD SUPPORT INFORMATION SHEET

Please include all information known

INTHE CIRCUIT __s Court of GEORGE County, Mississippi

JUDICIAL DISTRICT, CITY OF

Docket No. - Docket No. If Filed
File Yr Chronological No. Clerk's Local ID Prior to 1/1/94
Father.
Last First M/| Jr/Sr etc. Date of Birth Social Security #
Address: ( )
Phone # Drivers License #
Employer Name and Address: ( )
Employer Phone #
Mother.
Last First Mil Jr/Sr etc. Date of Birth Social Security #
Address: ( )
Phone # Drivers License #
Employer Name and Address: ( )
Employer Phone #
Child:
Last First M/I Jr/Sr etc. Date of Birth Social Security #
Address: ( )
Phone #
Child: —_—_
Last First M/| Jr/Sr ete. Date of Birth Social Security #
Address: ( )
Phone #
Child:
Last First Mil Jr/Sr etc. Date of Birth Social Security #
Address: ( )
Phone #
Child: —eEeEeEeEE
Last First M/I Jr/Sr etc. Date of Birth Social Security #
Address: ( )
Phone #
FOR ADDITIONAL CHILDREN, PLEASE ATTACH ADDITIONAL FORMS
MANDATED PURSUANT TO:
Federal Social Security Act Title IV-D, Information will be sent to the
§§ 454(26)(A) and 454A(e)(4); ADMINISTRATIVE OFFICE OF COURTS AND

Miss. Code Ann. §43-19-31(I)(iii) (Supp. 1999) MDHS CHILD SUPPORT ENFORCEMENT DIVISION
Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 10 of 24
Case: 20C11:24-cv-00090-KJ Document#:2 Filed: 04/05/2024 Page1of9

IN THE CIRCUIT COURT OF GEORGE COUNTY, MISSISSIPPI

AARON VAUGHN BAKER PLAINTIFF
VS. CIVIL ACTIONNO. f¥-CU- ¥2 (a)
GEORGE COUNTY, MISSISSIPPI, GEORGE COUNTY DEFENDANTS

SHERIFF KEITH HAVARD IN HIS OFFICIAL CAPACITY

AND INDIVIDUAL CAPACITY, TERRY ROGERS, WARDEN OF
GEORGE-GREENE COUNTY CORRECTIONAL FACILITY, IN HIS
OFFICIAL CAPACITY AND INDIVIDUAL CAPACITY, AND

JOHN AND JANE DOES 1-10

COMPLAINT
Jury Trial Demanded

COMES NOW Plaintiff Aaron Vaughn Baker, by and through his counsel of record, and
files this Complaint and in support thereof would show unto the Court the following, to-wit:

JURISDICTION AND VENUE

1. Subject matter jurisdiction is appropriate as claims are asserted pursuant to 42
U.S.C. § 1983 as well as the Eight and Fourteenth Amendments to the United States
Constitution. The Court also has jurisdiction over the state law claims asserted.

2. Venue is proper in George County, Mississippi as substantial acts, omissions, and
events giving rise to this Complaint occurred in George County, Mississippi. Additionally,
Venue is proper in George County, Mississippi as Defendants George County, Mississippi and
the George-Greene County Correctional Facility (“GCCF”) are located in George County,
Mississippi.

PARTIES

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 11 of 24
Case: 20C11:24-cv-00090-KJ Document#:2 Filed: 04/05/2024 Page 2of9

2 Defendant George County, Mississippi (herein “County”) is a political
subdivision of the State of Mississippi organized and existing pursuant to the laws of the State of
Mississippi. George County, by and through the George County Sheriff's department, is charged
with the oversight and supervision of the George-Greene County Correctional Facility. George
County may be served with process pursuant to Mississippi law by service upon Cammie Byrd,
Chancery Clerk of George County, Mississippi, 355 Cox Street, Suite A, Lucedale, MS 39452.

4. Defendant Keith Havard was at all times relevant the duly elected Sheriff of
George County, Mississippi and charged with the oversight and supervision of the George-
Greene County Correctional Facility. Sheriff Havard had the responsibility for providing
humane care and treatment of prisoners consistent with all constitutional standards and
American Correctional Association (ACA) standards. Defendant Havard is being sued in his
individual capacity and official capacity. Defendant Havard may be served at 355 Cox Street,
Suite B, Lucedale, MS. 30452.

5. Defendant Terry Rogers was at all times relevant the Warden of George-Greene
County Correctional Facility (“GCCF”) a regional correctional facility. Defendant Rogers has
the responsibility for providing humane care and treatment of prisoners consistent with all
constitutional standards and American Correctional Association (ACA) standards. Defendant
Rogers is being sued in his individual capacity and official capacity. Defendant Rogers may be
served with process at the George-Greene County Correctional Facility located at 154 Industrial
Park Road, Lucedale, Ms. 39452.

6. The identities of Defendants John and Jane Doe 1-10 are presently unknown and are
Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 12 of 24
Case: 20C11:24-cv-00090-KJ Document#:2 Filed: 04/05/2024 Page 3of9

unknown persons or entities who may be liable for the claims asserted herein including agents,
servants, employees, representatives, tortfeasors, co-conspirators, joint adventures and any other
person and/or entity responsible for the injuries and damages described herein. Plaintiff will
amend his Complaint once the identities of the unknown Defendants are learned.

FACTS

7. On or about the January 26, 2023 while a pretrial detainee incarcerated at GCCF
facility in Greene County, Mississippi Plaintiff was subjected to repeated incidents of assault,
battery, rape, and abuse at the hands of other inmates at the facility.

8. GCCF employees failed to take any steps to discover, intervene, and prevent this
assault/rape. Upon information and belief GCCF employees failed to monitor the activities of
the inmates housed at GCCF. If these actions were performed, GCCF employees either
ignored the assault which the Plaintiff was enduring or they condoned it. Either way, GCCF by
and through its employees, were indifferent, negligent, reckless, and/or grossly negligent.
Defendant GCCF had the responsibility for providing humane care and treatment of inmates
including the Plaintiff consistent with all constitutional rights and American Correctional
Association (“ACA”’’) standards.

9. Upon information and belief, GCCF was chronically understaffed. GCCF officials
including Defendant Rogers failed to conduct the necessary amount of security checks or

‘ security monitoring of the inmates at the facility to prevent the type of inmate assault as occurred
to the Plaintiff and to prevent foreseeable harm to the pretrial detainees such as the Plaintiff.

Such actions and inactions caused or contributed to the subject assaults and Plaintiffs injuries.
Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 13 of 24
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GCCF has a pattern and practice of understaffing this correctional facility. The staff who were
on duty were inadequately trained and/or supervised to handle the prison population which
existed at GCCF including the type of inmates who was incarcerated at the facility at the time of
the subject attack. Defendant Rogers and his staff's actions and inactions were negligent, grossly
negligent, and/or deliberately indifferent to the safety and well-being of the Plaintiff.

SECTION 1983 CAUSES OF ACTION

10. Plaintiff incorporates all of the allegations set forth in paragraphs | through 10
hereinabove.

11. Pursuant to Miss. Code Ann. § 47-5-931 correctional facilities such as GCCF shall
be operated and maintained in accordance with ACA standards and shall comply with all
constitutional standards of the United States and the State of Mississippi.

12. Defendants had the responsibility and non-delegable duty to supervise, oversee and
control the training and job performance of the staff as well as the daily operations of GCCF.
Defendants had a duty to ensure that GCCF was maintained in a safe condition, suitable for
human occupation and compliant with all statutory and constitutional requirements. Defendants
had the duty to ensure that its employee and officials acted in compliance with the laws and
Constitution of the State of Mississippi and the United States and ACA standards.

This included the duty to ensure that the conditions of inmate confinement did not deprive the
inmates including the Plaintiff of their rights and did not otherwise impose what may constitute
cruel and unusual punishment. By failing to intervene, prevent, and stop the assault/sexual

assault/rape of the Plaintiff, Defendants breached their duty to the Plaintiff.
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13. By and through Defendants’ deliberate indifference to the safety of the Plaintiff
and the establishment of customs, policies, and practice which created unconstitutional
conditions of confinement, Defendants and the Doe Defendants 1-10 violated the clearly
established constitutional rights of the Plaintiff, including but not limited to, (A) cruel and
unusual punishment under the 8th and 14th amendments; (B) Plaintiff's right not to be deprived
of liberty without due process of law;(C) Plaintiff's right to be safe and protected from injury
while in custody; and (D) Plaintiff's right to be protected by prison officials and guards from
assault/rape by other inmates.

14. The GCCF facility was maintained and operated in such a manner that the
conditions of confinement resulted in a comprehensive and pervasive pattern of serious
deficiencies in providing the basic human needs of the pretrial detainees/inmates housed in
GCCF including the plaintiff.

15. Said conditions of confinement also included many policies, practices, and

customs that deprived the inmates, including the Plaintiff, of their right to reasonable, adequate,

and timely medical care. Some of the policies, customs, and practices which constituted said
conditions included, but were not limited to, (A) regularly denying delaying or interfering with
inmate request for medical care; (B) ignoring, delaying, or failing to promptly comply with
treatment orders of the doctors and; (C) not properly providing reasonable medical care and
treatment to inmates, including the Plaintiff.

16. The policies, practices, and customs set forth in the preceding paragraph as well as

others that may come to light during the course of this litigation resulted in numerous repeated
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and pervasive deprivation of the Plaintiff's right to reasonable, adequate, and timely medical
care under both the 8th and 15th amendments at GCCF.

17. Such unwritten policies, customs, and practices included but not limited to (A)
inadequate and improper training, supervision, and discipline of GCCF correctional
officers/deputies; (B) inadequate and improper procedures and practices in screening, hiring,
training, and supervising staff; (C) failure to properly classify inmates; (D) failing to conduct
safety checks of inmates or having sufficient number of officers assigned to the facility to
prevent inmate assaults/rapes by other inmates; and (E) failing to adequately staff GCCF with
trained and qualified guards and allowing the prison to be understaffed.

18. Asareasonable foreseeable result of the Defendants’ acts or omissions, Plaintiff
suffered damages including but not limited to personal injury, emotional stress, mental anguish,
pain and suffering, loss of income, and medical expenses.

19. From Defendants and Doe Defendants 1-10, jointly and severally, Plaintiff seeks
recovery of all compensatory damages which he is entitled as a result of the conditions of
Plaintiff's confinement and the damages he suffered therefrom. Plaintiff further seeks recovery
of punitive damages from Defendants and Doe Defendants 1-10 for their conduct in callous and
reckless disregard for the rights, welfare, and safety of the Plaintiff.

NEGLIGENCE/GROSS NEGLIGENCE

20. Plaintiff incorporates all allegations set forth in paragraphs | through 20

hereinabove.

21. Atall times relevant hereto Defendants had a duty to comply with the
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standards and practices of the ACA including, but not limited to, the implementation of the
requirements of the Prison Rape Elimination Act, 42 USC § 15601, et seq. 28 CFR § 115.41
provides that all inmates are to be screened for risk of being sexually abused by other inmates.
Defendants and their employees breached that duties by failing to comply with the standards and
practices of the ACA, the PREA, and the CFR, that such failure was the proximate cause or
contributing cause of the personal injuries sustained by the Plaintiff. This breach was so
egregious as to amount to gross negligence or reckless indifference.

22. The damages sustained by the Plaintiff were the reasonably foreseeable outcome of
Defendants and their employees’ acts or omissions. These acts or omissions were substantial
factors in bringing about the harm and damages suffered by the Plaintiff.

NEGLIGENT HIRING AND SUPERVISION

23. Plaintiff incorporates all allegations set forth in paragraphs 1 through 23
hereinabove.

24. Defendants negligently hired, supervised, and retained their employees and agents
by (A) failing to properly care for and ensure the Plaintiffs health, safety, and well-being while
incarcerated at GCCF; (B) properly train, supervise, discipline, retain and/or discharge its
employees, agents, and/or representatives; and (C) were otherwise negligent in their care and
treatment of the Plaintiff and as a direct and proximate result, the Plaintiff sustained the harm

alleged herein.

RESPONDEAT SUPERIOR

25. Plaintiff incorporates all allegations set forth in paragraphs 1 through 25
Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 17 of 24
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hereinabove.

26. Defendants acted with negligence, gross negligence, and/or intentionally by
allowing or failing to prevent the harm to the Plaintiff. At all times relevant, each Defendant
owed a duty to the Plaintiff to ensure his health, safety, and well-being while in the custody of
GCCF and Defendants breached this duty. The actions and/or inactions of Defendants led
directly to the injuries sustained by Plaintiff. Defendants are liable for such actions which were
undertaken during the course and scope of their employment.

PUNITIVE DAMAGES

27. Plaintiff incorporates all allegations set forth in paragraphs 1 through 27
hereinabove

28. Defendants and Doe Defendants 1-10 acted in complete disregard for the safety of
the Plaintiff by acting in a negligent and/or grossly negligent and/or reckless indifferent manner
as previously described herein. The actions of Defendants warrant assessment of punitive

damages.

PRAYER FOR RELIEF

Plaintiff requests that upon a jury trial of this cause, the court will award all relief due
Plaintiff as set forth herein, including but not limited to, the following relief: (A) compensatory
damages; (B) punitive damage; (C) reasonable attorney fees and all costs of this court; (D) post
judgment interest; and (E) such other general and specific relief as appears reasonable and just.

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Respectfully submitted, this the 4" day of April, 2024.

MICHAEL AP CROSBY
Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 18 of 24
Case: 20C11:24-cv-00090-KJ Document#:2 Filed: 04/05/2024 Page 9of9

MICHAEL W. CROSBY (MSB #07888)
Attorney at Law

2111 25" Avenue

Gulfport, MS 39501

Tel: (228) 865-0313

Fax: (228) 865-0337
michaelwcrosby@bellsouth.net

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IN THE CIRCUIT COURT OF GEORGE COUNTY, MISSISSIPPI

AARON VAUGHN BAKER PLAINTIFF
vs P¢-LU-GO
GEORGE COUNTY, MISSISSIPPI, GEORGE COUNTY DEFENDANT

SHERIFF KEITH HAVARD, TERRY ROGERS, WARDEN OF
GEORGE=GREEN COUNTY CORRECTIONAL FACILITY,
JOHN AND JANE DOES 1-10

SUMMONS

TO ANY LAWFUL OFFICER UNAUTHORIZED TO SERVE
PROCESS; YOU ARE HEREBY COMMANDED TO SUMMON:

GEORGE COUNTY, MISSISSIPPI

By service upon Cammie B. Byrd ChanceryClerk
355 Cox Street Suite B

Lucedale, MS 39452

NOTICE TO DEFENDANT

THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT
AND YOU MUST TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS BY FILIN
YOUR ANSWER AS PROVIDED BY LAW AND/OR THE M MISSISSIPPI RULES OF
CIVIL PROCEDURE.

You are required to mail or hand-deliver a copy of a written response to the Complaint to
Michael W. Crosby, the attorney for the Plaintiff, whose address is 2111 25‘ Avenue Gulfport,
MS 39501. Your response must be mailed or delivered within thirty (30) days from the date of
delivery of this Summons and Complaint or a judgment by default will be entered against you for
the money or other things demanded in the Complaint

You must also file the original of your response with the Clerk of this Court within a
Reasonable time afterward.

Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 20 of 24
Case: 20C11:24-cv-00090-KJ Document#:3 Filed: 04/05/2024 Page 2of3

IN THE CIRCUIT COURT OF GEORGE COUNTY, MISSISSIPPI

AARON VAUGHN BAKER PLAINTIFF
vs ava -GoA)
GEORGE COUNTY, MISSISSIPPI, GEORGE COUNTY DEFENDANT

SHERIFF KEITH HAVARD, TERRY ROGERS, WARDEN OF
GEORGE=GREEN COUNTY CORRECTIONAL FACILITY,
JOHN AND JANE DOES 1-10

SUMMONS

TO ANY LAWFUL OFFICER UNAUTHORIZED TO SERVE
PROCESS; YOU ARE HEREBY COMMANDED TO SUMMON:

GEORGE-GREENE COUNTY CORRECTIONAL FACILITY, MISSISSIPPI

Warden Terry Rogers
154 Industrial Park Road
Lucedale, MS 39452

NOTICE TO DEFENDANT

THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT
AND YOU MUST TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS BY FILIN
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Michael W. Crosby, the attorney for the Plaintiff, whose address is 2111 25" Avenue Gulfport,
MS 39501. Your response must be mailed or delivered within thirty (30) days from the date of
delivery of this Summons and Complaint or a judgment by default will be entered against you for
the money or other things demanded in the Complaint

You must also file the original of your response with the Clerk of this Court within a
Reasonable time afterward.

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Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 21 of 24
Case: 20C11:24-cv-00090-KJ Document#:3 Filed: 04/05/2024 Page 3of3

IN THE CIRCUIT COURT OF GEORGE COUNTY, MISSISSIPPI

AARON VAUGHN BAKER PLAINTIFF
vs DY _-LU-GLYA)
GEORGE COUNTY, MISSISSIPPI, GEORGE COUNTY DEFENDANT

SHERIFF KEITH HAVARD, TERRY ROGERS, WARDEN OF
GEORGE=GREEN COUNTY CORRECTIONAL FACILITY,
JOHN AND JANE DOES 1-10

SUMMONS

TO ANY LAWFUL OFFICER UNAUTHORIZED TO SERVE
PROCESS; YOU ARE HEREBY COMMANDED TO SUMMON:

Sheriff Keith Havard
355 Cox Street Suite B
Lucedale, MS 39452

NOTICE TO DEFENDANT

THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT
AND YOU MUST TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS BY FILIN
YOUR ANSWER AS PROVIDED BY LAW AND/OR THE M MISSISSIPPI RULES OF
CIVIL PROCEDURE.

You are required to mail or hand-deliver a copy of a written response to the Complaint to
Michael W. Crosby, the attorney for the Plaintiff, whose address is 2111 25' Avenue Gulfport,
MS 39501. Your response must be mailed or delivered within thirty (30) days from the date of
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Reasonable time afterward.

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Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 22 of 24
Case: 20CI1:24-cv-00090-KJ Document#:4 Filed: 04/26/2024 Pagei1ofi1

I, the undersigned process server, served the Summons and Complaint upon the person or
Entity name above in the manner set forth below:

FIRST CLASS MAIL AND ACKNOWLEDGEMENT SERVICE, by mailing (by first class mail,
postage prepaid), on the date stated in the attached Notice, copies to the person served, together with
copies of the form of notice and acknowledgement and return envelope, postage prepaid, addressed to the
sender (Attach completed acknowledgement of receipt pursuant to M.R.C.P. Form 1B).

PERSONAL SERVICE, I personally delivered copies to Deir Reser an
agent/servant or employee of Worden GCte , this the [2 day of tpn ( , 2024, where I
found said person in Sa County of the State of Mississippi.

RESIDENCE SERVICE, after exercising reasonable diligence I was unable to deliver
copies to said person within County Mississippi, I served the Summons and Complaint on the

day of 2023, at the usual place of abode of said person by leaving a true and correct
copy of the Summons and Complaint with
who is the (here insert wife, husband, son, daughter or other person as the case may be), a
member of the family of the person served above the age of sixteen years and willing to receive
the summons and complaint, and thereafteron the _ day of , 2024, I mailed (by
first class mail, postage prepaid) copies to the person served at his or her usual place of abode
where the copies were left.

CERTIFIED MAIL SERVICE, By mailing to an address outside Mississippi (by first class
Mail, postage prepaid, requiring a return receipt) copies to the person served. (Attach signed
Return receipt or the return envelope marked “Refused.”)

At the time of service, I was at least 18 years of age and not a party to this action.
Fee for service:

Name: Seg R Kay: Ls Ce
Address: / 24 L355 ore
City/State/Zip Spucien, ng $ SISIY

STATE OF MISSISSIPPI
COUNTY OF ;

Personally appeared before me the undersigned authority in and for the state and county
Aforesaid, the within named who being first by me duly sworn states on oath that the matters
and facts set forth in the foregoing “Proof of Service” are true and correct as therein

stated.

Processor Server Signature

SWORN SP A TSeDscribed before me on this the /32 7B day of i; on l 20234
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FOF # 1246540 NOTARY PUBLIC

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Commission Expires ¢, ; e
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Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 23 of 24
Case: 20CI1:24-cv-00090-KJ Document#:5 Filed: 04/26/2024 Pagei1ofi1

I, the undersigned process server, served the Summons and Complaint upon the person or
Entity name above in the manner set forth below:

FIRST CLASS MAIL AND ACKNOWLEDGEMENT SERVICE, by mailing (by first class mail,
postage prepaid), on the date stated in the attached Notice, copies to the person served, together with
copies of the form of notice and acknowledgement and return envelope, postage prepaid, addressed to the
sender (Attach completed acknowledgement of receipt pursuant to M.R.C.P. Form 1B).

PERSONAL SERVICE, I personally delivered copies to CG (jam e@ Burch an
agent/servant or employee of (y , this the / 23+ day of fod |, 2024, where I
found said person in County of the State of Mississippi.

RESIDENCE SERVICE, after exercising reasonable diligence I was unable to deliver
copies to said person within County Mississippi, I served the Summons and Complaint on the

day of 2023, at the usual place of abode of said person by leaving a true and correct
copy of the Summons and Complaint with
who is the (here insert wife, husband, son, daughter or other person as the case may be), a
member of the family of the person served above the age of sixteen years and willing to receive
the summons and complaint, and thereafteronthe _ day of , 2024), I mailed (by
first class mail, postage prepaid) copies to the person served at his or her usual place of abode
where the copies were left.

CERTIFIED MAIL SERVICE, By mailing to an address outside Mississippi (by first class
Mail, postage prepaid, requiring a return receipt) copies to the person served. (Attach signed
Return receipt or the return envelope marked “Refused.”)

At the time of service, I was at least 18 years of age and not a party to this action.
Fee for service:

Name: eerp L. Rit Pee
Address: (/G33¢ ¢LlAr, dg“ DkR
City/State/Zip:gnoeerr, 277 29S 7 &

STATE OF MISSISSIPPI
COUNTY OF /f#fdfli sot

Personally appeared before me the undersigned authority in and for the state and county
Aforesaid, the within named who being first by me duly sworn states on oath that the matters

and facts set forth in the foregoing “Proof of Service” are true and correct as therein
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stated. LLL

A” Phoo&ssor Sewer Signature

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: . NOTARY PUBLIC
: TYLER RAY HEFLIN ¢

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Case 1:24-cv-00153-HSO-BWR Document 2 Filed 05/21/24 Page 24 of 24
Case: 20CI1:24-cv-00090-KJ Document#:6 Filed: 05/01/2024 Pagei1ofi1

I, the undersigned process server, served the Summons and Complaint upon the person or
Entity name above in the manner set forth below:

FIRST CLASS MAIL AND ACKNOWLEDGEMENT SERVICE, by mailing (by first class mail,
postage prepaid), on the date stated in the attached Notice, copies to the person served, together with
copies of the form of notice and acknowledgement and return envelope, postage prepaid, addressed to the
sender (Attach completed acknowledgement of receipt pursuant to M.R.C.P. Form 1B).

YX PERSONAL SERVICE, I personally delivers Senge to Koi wh Haven d an
agent/servant or employee of Rehived Smev ie. Georgi isthe \2 day of Aovil_. 2024, where I
found said person in Cenvge, County of the State of Mississippi.

RESIDENCE SERVICE, after exercising reasonable diligence I was unable to deliver
copies to said person within County Mississippi, I served the Summons and Complaint on the

day of 2024, at the usual place of abode of said person by leaving a true and correct
copy of the Summons and Complaint with
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the summons and complaint, and thereafteronthe _ day of , 2024 I mailed (by
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where the copies were left.

CERTIFIED MAIL SERVICE, By mailing to an address outside Mississippi (by first class
Mail, postage prepaid, requiring a return receipt) copies to the person served. (Attach signed
Return receipt or the return envelope marked “Refused.”)

At the time of lhe a at least 18 years of age and not a party to this action.
Fee for service:

Name: Pagve th
Address: eae Srvee+

City/State/Zip: LUcedale MS _

STATE OF MISSISSIPPI
COUNTY OrCAD:

Personally appeared before me the undersigned authority in and for the state and county
Aforesaid, the within named who being first by me duly sworn states on oath that the matters
and facts set forth in the foregoing “Proof of Service” are true and correct as therein

stated. .
po. Roduto~
Processor Server Signature

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SWORN TO and subscribed before me at day of M Anak 2024.
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Cammie Byrd, Chancery Clerk
George County, Mississippi
My Comnission Expires: Jan 1, 2028

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